      Case 4:17-cv-03912 Document 11 Filed on 06/01/18 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                                June 05, 2018
                            SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                                HOUSTON DIVISION

HEATHER HANNA,                                 §
                                               §
         Plaintiff,                            §
VS.                                            §   CIVIL ACTION NO. 4:17-CV-3912
                                               §
WELLS FARGO BANK N.A.,                         §
                                               §
         Defendant.                            §

                                    ORDER OF DISMISSAL


       In accordance with the Stipulation of Dismissal with Prejudice filed on May 31, 2018

(Doc. 10), this case is DISMISSED with prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii).

       SIGNED at Houston, Texas, this 1st day of June, 2018.


                                               ___________________________________
                                                        MELINDA HARMON
                                                 UNITED STATES DISTRICT JUDGE




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